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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Jesse Ventura a/k/a James
G. Janos,
                                                         Civ. No. 12-472 (RHK/JJK)
                                    Plaintiff,           ORDER
v.

Taya Kyle, as Executor of the Estate of
Chris Kyle,

                                   Defendant.


       This matter is before the Court sua sponte.

       This case was tried to a jury and the Court from July 8, 2014, to July 22, 2014.

Over the course of the trial, the parties delivered to the Court (in hard copy and electronic

form), and served upon one another, memoranda of law and other documents addressing

evidentiary issues that had arisen during the case. Nevertheless, it appears many of these

documents were not filed with the Clerk of the Court. See Fed. R. Civ. P. 5(d)(1)-(2)

(any paper required to be served must be filed within a reasonable time after service;

filing is accomplished by delivering a copy to the Clerk of Court). Based on the

foregoing, and all the files, records, and proceedings herein, and in order to ensure an

accurate and complete record in the event of an appeal, IT IS ORDERED that the parties

shall file forthwith all documents delivered to the Court during trial that have not yet

been filed.

Dated: August 15, 2014                                   s/Richard H. Kyle
                                                         RICHARD H. KYLE
                                                         United States District Judge
